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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: August 29, 2017.

                                                              __________________________________
                                                                        TONY M. DAVIS
                                                              UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

   IN RE:                                          §   CASE NO. 15-70094-TMD
                                                   §
   RREAF O&G PORTFOLIO #2 LLC, et al.              §   CHAPTER 11
        Debtors.                                   §


   HARRY ADINATA, et al.                           §
       Plaintiffs,                                 §
                                                   §   ADV. NO. 17-07003-TMD
   v.                                              §
                                                   §
   RREAF O&G PORTFOLIO #2 LLC, et al.              §
        Defendants.                                §

                    ORDER GRANTING AMENDED MOTION TO REMAND

            On August 29, 2017, the Court considered the Amended Motion to Remand filed by the

   Plaintiffs [ECF No. 35]. For the reasons stated on the record, the Court finds that it should

   abstain from hearing this matter under 28 U.S.C. § 1334(c)(1) and that it should remand this

   proceeding to state court conditioned upon the Plaintiffs amending the petition as proposed in the

   Amended Motion to Remand.



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          ACCORDINGLY, IT IS ORDERED that this adversary proceeding is remanded to the

   385th District Court for Midland, County, Texas conditioned upon the Plaintiffs amending their

   petition in state court as proposed in the Amended Motion to Remand. The Court retains

   jurisdiction to the extent necessary to ensure that the condition is fulfilled.

          IT IS FURTHER ORDERED that the Clerk of this Court immediately remand and then

   close this adversary proceeding.

                                                  # # #




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                                               United States Bankruptcy Court
                                                 Western District of Texas
Adinata,
              Plaintiff                                                                           Adv. Proc. No. 17-07003-tmd
RREAF Holdings O&G Portfolio #2, LL,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0542-7                  User: boydl                        Page 1 of 3                          Date Rcvd: Aug 29, 2017
                                      Form ID: pdfintp                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 31, 2017.
  NO NOTICES MAILED.

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust             E-mail/Text: USTPRegion07.SN.ECF@usdoj.gov Aug 30 2017 01:35:02
                 United States Trustee - MD12,   US Trustee’s Office,   615 E Houston, Suite 533,    PO Box 1539,
                 San Antonio, TX 78295-1539
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 31, 2017                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 29, 2017 at the address(es) listed below:
              Brett R. Sheneman   on behalf of Defendant   RREAF O&G Portfolio #2 Investors, LLC
               bsheneman@joneswalker.com, jway@joneswalker.com;’jjustiss@joneswalker.com
              Brett R. Sheneman   on behalf of Defendant   RREAF O&G Portfolio #2 Manager, LLC
               bsheneman@joneswalker.com, jway@joneswalker.com;’jjustiss@joneswalker.com
              Brett R. Sheneman   on behalf of Defendant   Spectrum RREAF Class A, LLC
               bsheneman@joneswalker.com, jway@joneswalker.com;’jjustiss@joneswalker.com
              Brett R. Sheneman   on behalf of Defendant   RREAF Holdings O&G Portfolio #2, LLC
               bsheneman@joneswalker.com, jway@joneswalker.com;’jjustiss@joneswalker.com
              Brett R. Sheneman   on behalf of Defendant Webb M. Sowden bsheneman@joneswalker.com,
               jway@joneswalker.com;’jjustiss@joneswalker.com
              Brett R. Sheneman   on behalf of Defendant   RREAF O&G Portfolio #2, LLC
               bsheneman@joneswalker.com, jway@joneswalker.com;’jjustiss@joneswalker.com
              Brett R. Sheneman   on behalf of Defendant   DM Florida, LLC bsheneman@joneswalker.com,
               jway@joneswalker.com;’jjustiss@joneswalker.com
              Daniel John Baldwin   on behalf of Defendant    DM Florida, LLC dbaldwin@joneswalker.com
              Daniel John Baldwin   on behalf of Defendant    RREAF O&G Portfolio #2 Investors, LLC
               dbaldwin@joneswalker.com
              Daniel John Baldwin   on behalf of Defendant Webb M. Sowden dbaldwin@joneswalker.com
              Daniel John Baldwin   on behalf of Defendant    RREAF O&G Portfolio #2, LLC
               dbaldwin@joneswalker.com
              Daniel John Baldwin   on behalf of Defendant    RREAF Holdings O&G Portfolio #2, LLC
               dbaldwin@joneswalker.com
              Ian T. Peck   on behalf of Defendant   Spectrum RREAF Class A, LLC ian.peck@haynesboone.com,
               kim.morzak@haynesboone.com
              Ian T. Peck   on behalf of Defendant   RREAF O&G Portfolio #2, LLC ian.peck@haynesboone.com,
               kim.morzak@haynesboone.com
              Ian T. Peck   on behalf of Defendant   RREAF O&G Portfolio #2 Manager, LLC
               ian.peck@haynesboone.com, kim.morzak@haynesboone.com
              Mark A. Mintz   on behalf of Defendant   RREAF O&G Portfolio #2 Investors, LLC
               mmintz@joneswalker.com, mmcadory@joneswalker.com;hstewart@joneswalker.com
              Mark A. Mintz   on behalf of Defendant Webb M. Sowden mmintz@joneswalker.com,
               mmcadory@joneswalker.com;hstewart@joneswalker.com
              Mark A. Mintz   on behalf of Defendant   DM Florida, LLC mmintz@joneswalker.com,
               mmcadory@joneswalker.com;hstewart@joneswalker.com
              Mark A. Mintz   on behalf of Defendant   RREAF O&G Portfolio #2 Manager, LLC
               mmintz@joneswalker.com, mmcadory@joneswalker.com;hstewart@joneswalker.com
              Mark A. Mintz   on behalf of Defendant   RREAF O&G Portfolio #2, LLC mmintz@joneswalker.com,
               mmcadory@joneswalker.com;hstewart@joneswalker.com
              Mark A. Mintz   on behalf of Defendant   RREAF Holdings O&G Portfolio #2, LLC
               mmintz@joneswalker.com, mmcadory@joneswalker.com;hstewart@joneswalker.com
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                             Form ID: pdfintp           Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Ryan J. McNeel   on behalf of Plaintiff John Willkomm rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Bill Davis rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Larry Laughlin rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Eddie Lou Shoffner rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Jeffrey Liddle rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Gettha Adinata rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Harry Adinata rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Arthur Belval rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff AJ Daley rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Robert Hinds rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Chris Choate rmcneel@brockettmcneel.net,
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               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Thomas Alfano rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff David Willkomm rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff James Blakemore rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Tom McCabe rmcneel@brockettmcneel.net,
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              Ryan J. McNeel   on behalf of Plaintiff Adam Barausky rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Todd Meucci rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Stephen Smiles rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Robert Burnett rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Steve Noonan rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Jill Marie Trinitapoli rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff   Wavecrest Holdings, LLC rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Ryan J. McNeel   on behalf of Plaintiff Adam Richwine rmcneel@brockettmcneel.net,
               jmay@brockettmcneel.net
              Todd J. Johnston   on behalf of Plaintiff Adam Richwine tjohnston@mcjllp.com,
               lskibell@mcjllp.com
              Todd J. Johnston   on behalf of Plaintiff Harry Adinata tjohnston@mcjllp.com,
               lskibell@mcjllp.com
              Todd J. Johnston   on behalf of Plaintiff Chris Choate tjohnston@mcjllp.com, lskibell@mcjllp.com
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              Todd J. Johnston   on behalf of Plaintiff Jill Marie Trinitapoli tjohnston@mcjllp.com,
               lskibell@mcjllp.com
                                                                                            TOTAL: 69
